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 3                               UNITED STATES DISTRICT COURT
 4                                       DISTRICT OF NEVADA
 5                                                    ***
 6    JAMES K. MATLEAN,                                   Case No. 2:19-cv-01498-APG-DJA
 7                                      Plaintiff,        ORDER EXTENDING STAY
 8                   v.
 9    JAMES DZURENDA, et al.,
10                                   Defendants.
11

12          This case was referred to the District Court’s Inmate Early Mediation Program (“IEM”)

13   on August 25, 2020 (ECF No. 6). The case was stayed for ninety (90) days to November 22,

14   2020, to allow the Plaintiff and Defendants an opportunity to settle their dispute. Due to the

15   pandemic, the mediation session with a court-appointed mediator was not held and cannot be held

16   until December 18, 2020. The Court now extends the stay until three days after the scheduled

17   IEM. The status report is also due on that date. During this stay period and until the Court lifts

18   the stay, no other pleadings or papers may be filed in this case, and the parties may not engage in

19   any discovery, nor are the parties required to respond to any paper filed in violation of the stay

20   unless specifically ordered by the Court to do so.

21          For the foregoing reasons, it is ordered that the stay is extended until three days after the

22   IEM. The Office of the Attorney General will file the report form regarding the results of the stay

23   by that date.

24          IT IS SO ORDERED.

25          DATED this 2nd day of October 2020.

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                                                     DANIEL J. ALBREGTS
28                                                   UNITED STATES MAGISTRATE JUDGE
